             CaseI 3:04-cv-00251-HSO-ASH
Mississippi Today                                               Document
                   (IMps://mississippitoday.org/2018/05/31/olivia-y-p             857-15 Filed 09/03/19/)
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                          Olivia Y plaintiffs to Bryant: Replace CPS head or
                          go to court
                          BY LARRISON CAMPBELL tOr I MAY 31, 2018


                          The plaintiffs in a long-running lawsuit against Mississippi's foster care system are taking the state back to
                          court after the governor refused their request to remove the current head of Child Protection Services.
                          Thursday's announcement is the latest in a five-month stretch (https://mississippitoday.org/2o18/o3/13/child-
                          protection-services-once-lauded-now-in-contempt-of-court/) of bad news for the beleaguered agency, which spent
                          much of the 2018 legislative session under scrutiny for an unexplained $39 million deficit
                         (https://mississippitoday.org/2o113/o0o/lawmakers-blown-away-by-40-million-child-protection-services-
                          budget-shortfalln .
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                                                                                                            Rogelio V. Solis, AP
      Child Protection Services executive director Jess Dickinson has made progress in past 14 months, said Gov. Phil Bryant.

      Citing a "failure ofleadership," attorneys for plaintiffs in the Olivia Y.lawsuit asked a federaljudge on
      Thursday to appoint an outside receiver to run the agency. Marcia Lowry told Mississippi Today that she
      filed the motion for contempt only after the plaintiffs asked Gov. Phil Bryant to replace current head of
      Child Protection Services, Jess Dickinson, with new leadership.

      Lowry said under Dickinson's tenure,the agency is even farther from complying with the terms of the
      settlement in Olivia Y., a 2004 lawsuit responsible for completely dismantling and then rebuilding the
      state's foster care agency. Lowry cited the agency's struggle to staff enough caseworkers as a ongoing issue
      that "puts Mississippi's children at risk."

      "Since (Dickinson's appointment in September)it has been an                 increasingly discouraging prospect,"
      Lowry said."I do not believe the current administration is going to be able to deal with the serious
      problems they have."

      But in a statement to Mississippi Today, Bryant doubled-down on his support for Dickinson, whom he had
      appointed only nine months earlier, stating the former Supreme Court Justice was steering the
      beleaguered agency in the right direction.

      "I am pleased with the progress CPS has made,including reducing by 700 the number of children in foster
      care the last 14 months and nearly doubling the number of adoptions in the current fiscal year. I am
      confident that progress will continue under current leadership as we vigorously oppose plaintiffs' latest
      legal maneuvering," Bryant said in the statement.

      Agency data released last week backs up Bryant's claims about foster care and adoption. According to
      Child Protection Services,the number of children in the state foster care system has dropped dramatically
      since April 2017, going from 6,094 to 5,403 in May 2018. In fiscal year 2017, CPS finalized 302 adoptions.
      For fiscal year 2018, which ends June 30, the agency has already finalized 574 adoptions.




                                                                                                     Larrison Campbell, Mississippi Today
      Gov. Phil Bryant and Dr. David Chandler, right, former commissioner of Child Protection Services, in May 2017.

      In a news conference on economic development Thursday afternoon, Bryant also said in response to a
      question about the motion for contempt that "we believe we are in compliance."
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      CPS issued a statement Thursday that echoed Bryant's confidence in Dickinson and the agency's progress
      in the two years since the Legislature had voted to set up CPS as a stand-alone agency. Until late 2015, CPS
      had been a subagency of the Department of Human Services. The change, another requirement of the
      Olivia Y. settlement, was meant to ensure the agency received proper funding.

      "We are confident we are moving in the right direction to ensure the continued protection and safety of at-
      risk children and their families. We disagree with the plaintiff's assertions and will continue working
      diligently each day to care for the thousands of abused and neglected children entrusted into our custody
      for protection," Child Protection Services said in its statement.

      But the agency is not in compliance with the terms of the Olivia Y. settlement, according to data released
      earlier this month. The settlement, which the agency agreed to in late 2016, requires CPS to have enough
      caseworkers on staff to properly handle all of the children currently monitored by the agency.

      Data released earlier this month indicates that Child Protection Services is still struggling to maintain
      minimum staffing requirements. At the end of 2017, only 61 percent of caseworkers had caseloads small
      enough to comply with the settlement, according to Public Catalyst, the consulting firm hired to monitor
      the agency. The target for that date had been 90 percent.

      As of May 15, the compliance rate was even lower—only 52 percent of caseworkers were overseeing the
      correct number of cases. This means that by the terms of the settlement, nearly half were working over
      capacity.

      The reason for the drop in compliance is complex. Since the first of the year, CPS has added 22
      caseworkers, going from 823 to 845. And while, as Bryant mentioned, the number of children in foster care
      has declined by 700 over the last year, the total number of cases being monitored by CPS employees has
      actually increased, surging 1200 from 14,476 to 15,693 in the first four months of 2018.

      In an April meeting, Dickinson explained that the agency had been steadily hiring new employees but that
      the sheer number of children in the state system, particularly on the Mississippi Gulf Coast, made it
      difficult to meet the settlement's requirements.

      High turnover rates have long been a problem for CPS caseworkers. To stem these losses, in January, the
      legislature gave the agency the authority to increase the starting salaries for its caseworkers by $4,000,
      from $26,000 to $30,000 a year. Whether this has helped retention is unclear. The agency did not respond
      to a request for information on staff turnover Thursday.



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      But since the start of the year the agency has lost several high profile leaders. Last week, Dickinson
      announced in a staff memo that Tracey Malone,the Deputy Commissioner of Child Welfare, would retire
      this summer. Cindy Greer, a deputy commissioner for information technology, resigned earlier this month.
      And Takesha Darby,the agency's deputy commissioner of finance, left the agency shortly after the agency's
      $39 million deficit announcement.

      In addition,for fiscal year 2019, the Legislature funded the agency at the same level as it had the previous
      year—$no million. This is a big problem, Dickinson said in April, if the agency is required to bring on even
      more staff. As a result, Dickinson asked whether the strict requirements of Olivia Y. echo what's in the best
      interest of the child, suggesting that the alternative to exceeding caseloads is to leave the children in
      unsafe homes.

      "We are going item by item down this budget, and we're trying to determine what we have to spend, what
      can I cut that will least affect the safety our our children," Dickinson said."And I am making those
      decisions irrespective of Olivia Y. requirements? I don't want to put a child in danger just to avoid
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      Tracy Malone, Mississippi Department of Child Protection Services

      criticism in the Olivia Y. litigation."

      But Lowry countered that a child, not properly supervised, is also a child at risk. This is,in effect, the
      origin ofthe Olivia Y.litigation. In 2004, six children in foster care sued the state of Mississippi for failing
      to adequately provide for children in state custody. Olivia Y., a three-year-old, was so severely neglected by
      her foster family that by the time the state intervened she weighed only 22 pounds. A federal court sided
      with the plaintiffs, known collectively as Olivia Y., and the resulting settlement has completely remade the
      agency—and made staffing requirements one of the pillars of this new agency.

      Bryant's decision to appointment Dickinson to the helm of CPS last September was viewed by many at the
      time as a relatively uncontroversial move. The former state Supreme Court justice seemed a natural
      replacement for his one-time colleague on the bench, David Chandler, who had received national praise for
      his work with the agency since taking the reins in late 2015.

      But within months, Dickinson proved he wasn't afraid to ruffle the feathers of even the most powerful
      lawmakers. In early January, at his first public meeting at the Capitol, Dickinson stunned legislators by
      announcing his agency was facing a record-breaking $39 million deficit, which he blamed on a "legislative
      error."

      Many lawmakers took that blame, admitting that, in their rush to comply with the requirements of the
      Olivia Y. settlement, they didn't fully vet how spinning Child Protection Services into a separate agency
      from the Department of Human Services would affect its funding.

      "We thought we could do it on our own, and we went out and did it wrong," said Sen. Terry Burton, R-
      Newton.

      But when asked how the problem would be addressed in that meeting, Dickinson relied heavily on John
      Davis, executive director of the Department of Human Services,to explain the funding issues. Many
       lawmakers were quick to question why Dickinson waited three months after joining CPS to notify
      lawmakers ofthe deficit, and some questioned whether Dickinson, himself,fully understood how the
      agency's funding works.

      "These agencies, we depend on them and their experts to tell us what goes in that federal line," said Senate
      Appropriations Chair Buck Clarke, R-Hollandale, said in January.

      Lowry,too, said she's frustrated with Dickinson's answers about his agency's budget, particularly what
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      Rep. Terry Burton, R-Newton

      caused the nearly $40 million deficit for 2018, but she's never received a clear explanation.

      "We tried to understand what the new commissioner was talking about when he was talking in the paper
      aboutwhat was the deficit," Lowry said."We were never able to get to the bottom of that."

      She said she's asked for information about how the legislature's decision to not increase funds for 2019
      would affect staffing but has not yet received answers.

      In April, Dickinson told Mississippi Today that "I have had nobody be able to explain to me how this
      happened." His guess, he said, was that the 2018 deficit was caused by the agency leadership's attempt to
      get the legislature to "increase spending authority" for the new agency.

      "They over-represented expenses, they over-represented revenues, but in an attempt to arrive at a correct
      bottom line, which they never did," Dickinson said in April.

      As the lawsuit has dragged on for the last 14 years, it's clear that rebuilding an agency has not been an easy
      task,for either the state or those taking it to court. In his comments Thursday, Bryant suggested that "the
      plaintiffs' attorneys are making a lot of money keeping this case going. They do not want to settle it."

      Lowry, who works for nonprofit A Better Childhood, offered a different take.

      "We're not interested in causing any kind of disruption for the sake of disruption. Basically we have tried
      everything we can think of and we're not going to wait. Enough is enough."
